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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

DR. KEVIN J. NOHELTY,                  )
                                       )
                 Plaintiff,            )
                                       )
     v.                                )     No.    12 C 5594
                                       )
LINCOLNWOOD SCHOOL DISTRICT            )
#74, et al.,                           )
                                       )
                 Defendants.           )

                             MEMORANDUM ORDER

     Dr. Kevin Nohelty (“Nohelty”) has filed a Verified Complaint

against Lincolnwood School District #74 (“District”) and four

members of its Board of Education (“Board”), describing his

multicount action in these terms (Complaint ¶1):

     This action is brought pursuant to 42 USC 1983 for the
     abuse of power by certain members of the Lincolnwood
     School District #74 who conspired to prosecute Kevin
     Nohelty on false charges of alleged misconduct as a
     means to terminate his valid employment contract a year
     before it expired. There are also several pendent
     state claims.

This memorandum order is issued sua sponte in the discharge of

this Court’s threshold obligation as taught in Wernsing v.

Thompson, 423 F.3d 732, 743 (7th Cir. 2005)(internal citations

and quotation marks omitted):

     Jurisdiction is the power to declare law, and without
     it the federal courts cannot proceed. Accordingly, not
     only may the federal courts police subject matter
     jurisdiction sua sponte, they must.

     Complaint ¶¶21 through 26 describe the procedure followed by

defendants in terminating Nohelty’s employment agreement as
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District’s Assistant Superintendent for Business:              the issuance

of a Bill of Particulars assertedly justifying dismissal

(Complaint ¶¶22-23) and the conduct of a pre-termination hearing

(id. ¶24), followed by a 4-0 vote by the defendant Board Members

dismissing him as a District employee (id. ¶25) and terminating

his renewed employment agreement (id. ¶26).            Whether or not that

termination was unjustified, as Nohelty claims, it plainly

constituted the due process of law (the requirement prescribed by

the Fourteenth Amendment) in procedural terms.

     Nohelty says nothing about his pursuit of the further

procedures provided by Illinois law--the right to judicial

review--to correct any wrongful exercise of such administrative

procedure.   If he were to pursue such remedy unsuccessfully, the

Rooker-Feldman doctrine precludes any federal remedy except by

appeal to the United States Supreme Court (see, e.g.,

Commonwealth Plaza Condominium Ass’n v. City of Chicago, 2012 WL

3734354, at *2-*3 (7th Cir. Aug. 30)), and he cannot simply

decide not to pursue his state court remedies by turning instead

to the lower federal courts.

     So much, then, for Nohelty’s inability to invoke any claimed

violation of procedural due process.           And as for the much more

limited concept of substantive due process stemming from an

alleged wrongful termination of public employment, the discussion

in Palka v. Shelton, 623 F.3d 487, 453 (7th Cir. 2010) torpedoes


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any such claim.

     In sum, this Court lacks subject matter jurisdiction over

Complaint Count I, the only count in which Nohelty’s counsel

seeks to call upon a federally-based claim.            Hence Count I is

dismissed, and that leaves Nohelty’s other contentions--breach of

contract (Count II), a petition for writ of certiorari or a

complaint for administrative review (Count III)1 and intentional

infliction of severe emotional distress (Count IV)--without any

federal anchor.       Those counts are therefore dismissed as well,

but without prejudice to their potential reassertion in a state

court of competent jurisdiction.



                                 ________________________________________
                                 Milton I. Shadur
                                 Senior United States District Judge

Date:       September 18, 2012




        1
        In light of what has been said earlier as to procedural
due process, it is really bizarre to read Complaint ¶38’s
acknowledgment that the Board’s action is indeed judicially
reviewable under state law:

     By law, the defendants’ decision is reviewable either
     under the Administrative Review Act or via a Petition
     for a Common Law Writ of Certiorari.

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